CaSe 2:02-cv-02791-.]PI\/| Document 97 Filed 05/04/05 Page 1 of 2 Page|D 147

HLHDEF:

  

IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSE§§H£Y“h pg 3,&2
wEsTERN DIvIsIoN

 

 

JAMns sTEPHEN BRowN,
Plaintiff,
V.

No. 02-2791 Ml/An

KEITH T. SIEBERT,

v`_¢'~_rv~_¢\u¢v\_¢v

Defendant.

 

ORDER REQUIRING PARTIES TO REQUEST AND FILE COPIES OF THE
FEBRUARY 17, 2005r AND FEBRUARY 18, 2005, TRIAL TRANSCRIPTS

 

In light of the parties' motions for a new trial in this
case, respectively filed on February 28, 2005, and March 9, 2005,
the parties are hereby ORDERED to request and file with the Court
copies of the February 17, 2005, and February lS, 2005, trial
transcripts in this case within 14 days of the entry of this
order.1 The parties shall share the costs of the transcripts

equally.

So ORDERED this § day of May, 2005.

QWQW(}Q@

MCCALLA
U TED STATES DISTRICT JUDGE

 

 

l Copies of the trial transcripts in this case may be
ordered by contacting Court Reporter Brenda Parker at (901) 526-
8769.

This document entered on the docket sheei,iré>co pllance .
with Hu!e 58 andlor FQ(a) FHGP on .5__" LQ_._._~£ j § q
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UNITED TAS DISTRIC COURT - WESTERN DITRICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 97 in
case 2:02-CV-02791 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

